PROB 12A
(7/93)

                           UNITED STATES DISTRICT COURT
                                                        for

                                        WESTERN DISTRICT OF TEXAS



                                 Report on Offender Under Supervision


  Name of Offender:      Jessica Lynn Mckown                          Case Number:      5:17-CR-00965-OLG(2)
  Name of Sentencing Judicial Officer:      Honorable Orlando L. Garcia, Chief United States District Judge
  Date of Original Sentence:    June 27, 2018

  Original Offense:     Count 5: Access Device Fraud, in violation of 18 U.S.C § 1029(a)(2).
                        Count 7: Aggravated Identity Theft, in violation of 18 U.S.C § 1028A(a)(1).
                        A total of Twenty-five (25) months imprisonment. Count 5: One (1) month imprisonment
  Original Sentence:    and Count 7: Twenty-four (24) months imprisonment, to run consecutively; followed by a
                        two (2) year term of supervised release, as to Counts 5 and 7, to run concurrently. $200
                        special assessment.

                       Supervised Release              Date Supervision Commenced:     September 9, 2019
Type of Supervision:




                                          PREVIOUS COURT ACTION

On October 23, 2019, a Probation Form 12B-Request Modifying the Conditions or Terms of Supervision with Consent was
signed and amended by the Court modifying a restitution payment amount of no less than $50.00 per month.

On March 6, 2020, a Probation Form 12B-Request Modifying the Conditions or Terms of Supervision with Consent was
signed and amended by the Court modifying the conditions to include inpatient treatment.


                                        NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number         Nature of Noncompliance

           1.            Mandatory Condition No. 2: The defendant shall not unlawfully possess a controlled
                         substance.
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                          Mandatory Condition No. 3: The defendant shall refrain from any unlawful use of a
        2.                controlled substance. The defendant shall submit to one drug test within 15 days of
                          release on probation or supervised release and at least two periodic drug tests thereafter
                          (as determined by the court), but the condition stated in this paragraph may be
                          ameliorated or suspended by the court if the defendant's presentence report or other
                          reliable sentencing information indicates low risk of future substance abuse by the
                          defendant.

                          On March 19, 2020, A drug sweat patch was placed on the offender on February 25, 2020. It
                          was sent to the Alere National Laboratories and returned positive for marijuana. The offender
                          admitted to marijuana use.




U.S. Probation Officer Action:

On February 25, 2020, a sweat patch was placed on the offender for the purpose of monitoring her drug use. Ms.
Mckown had previously admitted to instances of methamphetamine use. The patch returned positive for both
methamphetamine and marijuana.

This officer had reported her methamphetamine use to the Court on March 6, 2020, and Your Honor modified her
conditions to include a condition for in patient drug treatment. This report is being submitted as a notification only.

Given the offender’s previous admissions of substance use and her pending placement into inpatient treatment, it is
recommended that no action be taken at this time and to allow the offender to participate in residential treatment.




Approved:                                                                Respectfully submitted,




Tracy L. Tate                                                            Damon Jackson
Supervising U.S. Probation Officer                                       U.S. Probation Officer
Telephone: (210) 472-6590, Ext. 5317                                     Telephone: (210) 472-6590, Ext. 5323
                                                                         Date: March 27, 2020
cc:   Thomas P. Moore
      Assistant U.S. Attorney

      Brenda Trejo-Olivarri
      Assistant Deputy Chief U.S. Probation Officer
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X Approved as submitted.
‫܆‬
‫ ܆‬Submit a Request for Modifying the Condition or Term of Supervision

‫ ܆‬Submit a Request for Warrant or Summons

‫ ܆‬Other



                                                                          Honorable Orlando L. Garcia
                                                                           Chief U.S. District Judge

                                                                        March 30, 2020
                                                                                     Date
